
659 S.E.2d 735 (2008)
John Fletcher MEADOWS, et. al. Kathleen Paige McIlroy Meadows
v.
IREDELL County and Rowan County.
No. 19P08.
Supreme Court of North Carolina.
March 6, 2008.
David P. Parker,; Statesville, for Meadows.
James R. Morgan, Jr., Winston-Salem, for Iredell County.
*736 Kenneth R. Raynor, Charlotte, for Rowan County.
Prior report: ___ N.C.App. ___, 653 S.E.2d 925.

ORDER
Upon consideration of the petition filed on the 17th day of January 2008 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
